                      Case 4:14-cr-00187-BSM                   Document 121                Filed 11/17/15        Page 1 of 6
AO 245B (Rev. I 0/15) Judgment m a Cnmmal Case
                      Sheet I
                                                                                                                            FILED
                                                                                                                        US. DISTRICT COURT
                                                                                                                     EASTERNp15rs1qo9'6''i g


                                        UNITED STATES DISTRICT COURT                                                     NOV 17 2015
                                                           Eastern District of Arkansas                      JAME,~RK
                                                                                                             By:
                                                                        )                                                                     P    ERK
               UNITED STATES OF AMERICA                                   )          JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                      KEYONTAEJOHNSON                                     )
                                                                                     Case Number: 4:14CR00187-02 JLH
                                                                          )
                                                                          )          USM Number: 28709-009
                                                                          )
                                                                          )           Lisa G. Peters
                                                                          )          Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)        Count 4 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
 18 U.S.C. §§ 2113(a)             Aiding and abetting armed bank robbery, a Class B felony                   5/15/2014                    4

  and (d); and 2



       The defendant is sentenced as provided in pages 2 through         ---~-- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      Counts 1 and 3                        D is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          11/17/2015




                                                                          J. Leon Holmes, United States District Judge
                                                                         Name and Title of Judge


                                                                          11 /17/2015
                                                                              .   ------------~--      -------------
                                                                         Date
                      Case 4:14-cr-00187-BSM               Document 121             Filed 11/17/15         Page 2 of 6
AO 245B (Rev I 0/15) Judgment m Cnmmal Case
                       Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page   2   of   __6_
 DEFENDANT: KEYONTAE JOHNSON
 CASE NUMBER: 4:14CR00187-02 JLH

                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

    31 MONTHS




     Ill The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends defendant participate in residential substance abuse treatment, mental health counseling, and
  educational and vocational programs during incarceration. The Court further recommends placement in the FCI Texarkana,
  Texas, facility so as to remain near his family.

     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                  D a.m.       D p.m.       on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

a                                                 , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                        By
                                                                                              DEPUTY UNITED ST A TES MARSHAL
                         Case 4:14-cr-00187-BSM                 Document 121             Filed 11/17/15          Page 3 of 6
AO 24513 (Rev I 0/15) Judgment ma Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ _ _ of _ _ _ __
 DEFENDANT: KEYONTAE JOHNSON
 CASE NUMBER: 4:14CR00187-02 JLH
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 THREE (3) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if apphcable)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if apphcable)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applzcable)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if appltcable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or ,Personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 2458 (Rev I 0/15) Judgment m a Cnmmal Case
        Sheet 3A - Supervised Release
                                                                                                            4_ of _ _ _
                                                                                            Judgment-Page _ _         6___ _
DEFENDANT: KEYONTAEJOHNSON
CASE NUMBER: 4:14CR00187-02 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must disclose business and personal information including all assets, unexpected financial gains, and
 liabilities to the probation office. The defendant may not transfer, sell, give away, or otherwise convey any asset without
 approval from the probation office.

 16) The defendant may not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.
                         Case 4:14-cr-00187-BSM                 Document 121                  Filed 11/17/15         Page 5 of 6
AO 2458 (Rev 10/15) Judgment ma Cnminal Case
         Sheet 5 - Cnmmal Monetary Penalties
                                                                                                        Judgment -   Page       5     of        6
DEFENDANT: KEYONTAE JOHNSON
CASE NUMBER: 4:14CR00187-02 JLH
                                               CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                        Fine                                  Restitution
TOTALS               $   100.00                                        $    0.00                            $     4,907.00


 D      The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 el The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

   Name of Payee                                                             Total Loss*           Restitution Ordered         Priority or Percentage
       U.S. Bank                                                                                                $4,807.00
       Bank of the Ozarks                                                                                        $100.00




 TOTALS                               $ - - - - - - - - - - -0.00             $                    4,907.00


 D       Restitution amount ordered pursuant to plea agreement $ ---- - - - - - - - - - - - - -

 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         IZl the interest requirement is waived for the       D fine       Ill restitution.
         D the interest requirement for the       D    fine    D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                        Case 4:14-cr-00187-BSM
AO 2458 (Rev. 10/15) Judgment in a Crnrnnal Case
                                                                Document 121             Filed 11/17/15          Page 6 of 6
        Sheet 6 - Schedule of Payments

                                                                                                           Judgment -   Page _ _ _ of - - - - .
 DEFENDANT: KEYONTAE JOHNSON
 CASE NUMBER: 4:14CR00187-02 JLH

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     i;z'I   Lump sum payment of$       ~.Q()7.00    ___ due immediately, balance due

               D    not later than - - - - - ---------- - - - - , or
               D    in accordance        D C, .0 D, D E, or                   D F below; or
 B     D       Payment to begin immediately (may be combined with          oc.         D D,or       D F below); or
 C     D       Payment in equal - - - - - · - - (e g, weekly, monthly, quarter!;) installments of $                        over a period of
                            (e g. months or years), to commence  - · - - - - (e g, 30 or 60 days) after the date of this judgment; or

 D     D       Payment in equal                       (e g, weekly. monthly, quarterly) installments of $                      over a period of
                             (e g, months or years), to commence       - .. · - - - (e g, 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E     D       Payment during the term of supervised release will commence within                 (e.g. 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     IZ1 Special instructions regarding the payment of criminal monetary penalties:
                Restitution is due immediately, and any unpaid balance will be payable during incarceration and supervised
                release. During incarceration, the defendant will pay 50 percent per month of all funds that are available to him.
                During residential reentry placement, payments will be reduced to 10 percent of the defendant's gross monthly
                income. Beginning the first month of supervised release, payments will be 10 percent per month of the
                defendant's monthly gross income. The interest requirement is waived.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 Ill   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (includzng defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

         Restitution will be joint and several with any other person who has been or will be convicted on an offense for which
         restitution to the same victim on the same loss is ordered.



 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
